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lacing a Bond in a Court Case ·-Private Side Solutions             https://privatesidesolutions.com/bJr-~/2017/10/03/placing-a-bond-in-a- ...
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                  Placing a Bond in a Court Case - Private   1~
                  Side Solutions                           s;,,h;?s~
                  Court Bond
                                                           c#c..
                           Court Bond," (revised by several people from the original version), plus
                       1. ,"
                         the explanation we received concerning the instrument (essentially intact as
                         we received it), accompany this article.

                 The Court Bond is not a pleading or motion needing determination from the
                 court. It is not an argument, opinion, or point of law, nor is it a negotiation. It is                   Ff LE 0
                 just a bond! Who could object? The Court Bond is a special bond as described in
                 Rule E of the Supplemental Admiralty Rules in the Federal Rules of Civil               MAY 24 2018
                 Procedure in 28 USC. Admiralty is the only place mentioned in the rules where KATE BARJ
                 bonds apply. A bond seems to be appropriate only on an admiralty proceedingBY.             ~*-~~rk
                 This includes bail bonds, general bonds, special bonds, etc. Anything that has
                 bonding involved is admiralty or some degree of admiralty. Since all commerce is
                 international, and international commerce exists in admiralty/maritime
                 jurisdiction, and every legal matter is commercial, in any court case in which you
                 are involved, always put in a bond.

                 Since the bond you file becomes a permanent part of the record, if anyone tries to
                 remove the filed bond, you have a file-stamped copy that substantiates the filing.

                 Since the public side is a reflection in a mirror of content in the private side, if
                 there is no private side/ledger, there can be no public side/ledger. Without any
                 reality, a mirror has nothing to reflect. The books/ledgers must balance-pubic
                 and private.

                 Filing the bond removes you from the controversy. You cannot be required to pay
                 any claim for losses or costs because you have covered any and all of them by
                 providing a bond backed by your exemption, which is unlimited. You have
                 covered every outcome by your good-faith effort. A court exists to resolve
                 disputes, which requires adverse parties. The bond removes you from the arena
                 by ending the controversy and discharging any obligation there might be via the
                 bond, whether or not there is any assessment in fact.

                 Strategically, it might be wise to file your bond at the last minute, just before going
                 to court, to foreclose them from sufficient time to study it and brainstorm on how
                 they can get around it. Use of a notary and autographed stamp renders
                 dishonoring the bond considerably more difficult. So does sending a copy to the
                 court administrator, mayor of the municipality, the municipality risk management
                 department, a11:d perhaps even the Army Corps of Engineers.

                 The judge is holding the original books, which is OK with us. Let him own the
                 account and make the adjustments. Then he is responsible. Since the judge is not


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                 going to go to jail, if anyone has to take the fall for the charges it must be the
                 attorneys.

                 All admiralty courts require posting a bond to initiate a cause of action. A case
                 commences and is bonded when the prosecuting attorney files the complaint. The
                 complaint is the bond, and is signed by the prosecuting attorneys. It is a firm offer,
                 an original issue, offered to the clerk, who buys the contract. That is the original
                 money, which is brought under the Bar Numbers of the fling attorneys
                 (prosecutors). The clerk buys it because of the attorneys' guarantee that they will
                 produce someone to pay the fines and go to jail. The clerk takes the complaint to
                 the court, which is the bank, and issues a voucher. The voucher is a security. The
                 commercial bank credits the court's account in the commercial bank and then
                 monetizes the voucher by sending it to Freddie Mac or Fanny Mae, making the
                 instrument an insured government security.

                 We believe that this process creates the public funds by the charges made against
                 the strawman, for which the real being ends up paying as the surety if the
                 presumption that the

                 real you may be treated as, and is therefore liable for the obligation of, the
                 strawman/Defendant, is not eliminated from the equation. We further think that
                 these public funds are credited (possibly by going through the commercial bank's
                 TI&L account) to the customer's (i.e., the court's) account. In other words, when
                 your strawman is charged as a Defendant in an action, it appears that what
                 happens is that the public funds are created by using your exemption to create the
                 public money that covers the check the commercial bank writes to deposit in the
                 court's account.

                 Let's say you, i.e., your strawman, are indicted. You go to court, you get an
                 attorney, you go through a trial, and the jury finds your strawman guilty. At the
                 sentencing hearing, the judge says openly, as if addressing no one in particular,
                 "Will the defendant please rise." The terms "Defendant," and "the defendant" are
                 different. Until sentencing, all attorneys, officials, judges, etc., have been engaged
                 in prosecuting your all-caps name strawman/Defendant, not you. At sentencing,
                 in order to procure enforcement of the judgment, you must provide the legal
                 determination that the real you and the fictitious you are contractually united
                 -married. Then you go along for the ride concerning anything the system wants
                 to do to your strawman, such as fining or imprisoning you, or both.

                The term designated as "the defendant" is not identified in a case until either
                someone pleads guilty or pays a fine and goes to prison. In court paperwork the
                one accused or indicted is designated as "Defendant." The real you is simply a
                being/body waiting to be placed into the slot of "the defendant," who must pay
                with dollars and incarceration time for the alleged crime, after the
                strawman/Defendant has been found guilty. Anyone who makes an appearance in
                the case (every attorney) could also fall into the category "the defendant" or "the
                plaintiff," including any "Defendant" or "Plaintiff' named or identified. This dance
                is a dynamic scam that can change at any time during the proceedings, including
                long after you have been convicted, sentenced, and incarcerated.


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                  Maxims of law that pertain to this include:

                  Once a fraud, always a fraud. 13 Vin. Abr. 530. o

                 Things invalid from the beginning cannot be made valid by subsequent act."
                 Trayner,

                  Max.482.

                 A thing void in the beginning does not become valid by lapse of time. 1 S." & R.
                 58.
                 Time cannot render valid an act void in its origin. Dig. 50, 17, 29; Broom,o Max.
                 178.

                 Because both the private and public set of books are involved, what gets sent to
                 prison is an amalgamation: JOHN DOE SMITH/Body/John Doe Smith. The
                 interesting thing is that at the time you go into prison, and your body is admitted,
                 your all-caps name is placed on the ID tag. When you receive a discharge from the
                 Department of Corrections the paperwork issued has your name in proper
                 English, upper- and lower-case letters. Why? Speculation is that any time up to
                 and including discharge you could be freed for some other reason than serving
                 your time, such as on appeal, habeas corpus, the real criminal having been
                 discovered, etc. In other words, the contract formed by the union/marriage of the
                 strawman, private name, and body is not fulfilled until the terms and conditions of
                 the bond filed by the attorney in the form of a complaint are fulfilled. The case
                 was bonded "on the come" by the attorney's guarantee (by staking his bar/bonding
                 number) that a Defendant would pay the penalty in fines and/or incarceration to
                 cover the bond, thereby getting the attorney off the hook.

                 To use the automobile situation as an example, when you purchase a new car, one
                 of the documents in the "g-Pack" is one the dealership glosses over and does not
                 elaborate on. Most people are so busy signing their name on all the paperwork
                 that they don't questions everything anyway. What this document does is gift title
                 of the automobile to the State (Department of Motor Vehicles), to whom the
                 Manufacturer's Certificate of Origin (MCO) is sent. The MCO is title, i.e., equitable
                 (substance) title. You, as the user, have "legal title," meaning they get the elevator
                 (substance) and you get the shaft Oegal liability). You receive a "pink slip" at the
                 end of your payments, which is a "certificate of title." A certificate of title is not
                 title: it is simply a document stating that title exists somewhere.

                 So if the gendarmes give you a ticket and impound your car, it is incarcerated
                 until you have paid the ransom to get it out.

                In the case of a conviction/prison situation, you (body/car) are impounded, sitting
                in jail under control of the jailer (user, your strawman) on the basis of a charge by
                a prosecutor (owner, i.e., State) having made a complaint (citation, bonded by his
                bar number). It matters not what the complaint is as it is all a smokescreen and
                misdirection to divert attention away from what is really going on. They have put
                your name on an account and are using your body <luring the time of their
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                 impounding your body (in accordance with the terms of the bond/complaint filed
                 by the prosecuting attorneys). Suddenly, you ask them for the bond that was
                 posted that allows them to do this. No reply! Hmmm! ! !

                 It appears that the private books, dealing with body/John Doe Smith, are held
                 privately in the office of the trial judge, which is where the commercial action of
                 record happens. No one goes to jail or pays a fine in any case unless and until the
                ·private accounting books are in conformance with the public record. In other
                 words, there is a credit/debit accounting cross on the private side and an
                 equivalent (mirror image) of that cross on the public side. If you end and own the
                 matter on the private side by using your exemption to discharge the obligation,
                 the private books have been balanced, both asset and liability sides have been
                 filled in, and discharge (and therefore termination of controversy) has occurred.

                 As a result of filing the Court Bond, your proper English name must be removed
                 from their title. They can no longer use your private name because you have
                 posted the Court Bond for record and paid for everything with your private
                 exemption. This discharges the obligation (charge/imbalance) on the private side
                 ends the controversy and fulfills the obligation on the private side, thereby ending
                 the possibility for any public dispute resolution to occur. When there is nothing on
                 the private books for the public side to mirror, and the private side establishes
                 your ownership of the matter, the illusory public side is left hanging out to dry. By
                 discharging the matter on the private side by use of your exemption, you not only
                 end the dispute and become owner of the transaction, but owner of any court in
                 which the matter may remain for resolution of the non-existent claim.

                 Consequences and ramifications of the foregoing include the following:

                      1. By the private man posting a bond, through his private exemption, into the
                        public record with the clerk, a separation has occurred between the version
                        criminally charged (ALL CAPS) and the version they want to put on the
                        books in the back office, which is upper- and lower-case (private) name. If
                        the private version is not available then they can't take the body because the
                        account is no longer whole. You can't put half a body in jail. They need your
                        ALL-CAPS name in the public record, and your lower-case name on their
                        private books held by the judge, in order to make the accounting whole and
                        take your body. The bond made with your lower-case name and placed into
                        the public record with the clerk splits the account into two disjoined halves.
                        By losing one side of the account they lose both. They cannot admit "JOHN
                        DOE SMITH/body" to jail if there is no longer any "body/John Doe Smith"
                        to discharge at the end of the sentence.
                     2. Since the imbalance still remains on the un-discharged public side that must
                        be discharged, the attorney no longer has a Defendant/body to fulfill the
                        terms of the bond filed in the form of the original complaint. The result is
                        that within seventy-two (72) hours they must either dismiss the case, find
                        another Defendant/body to satisfy the pledge in the attorney's on-the-come
                        bond, or the attorney(s) who filed the complaint must be held liable.

                The history of the use of this bond thus far appears to be that all incarcerated


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                 users were released. Not all of them, however, remained free. It seems that the
                 ones who stayed out permanently were those who had filed documents (such as a
                 UCC Financing Statement, Employer Identification-with jurat, if possible-and
                 other documents that clarify that the real being and the strawman are two
                 different things and that the real being is the "living principal" who autographs
                 instruments and operates in capacity of being the authorized representative,
                 attorney in fact, and secured party for the strawman. Those who did not put in any
                 paperwork that states and declares this were re-incarcerated after a few weeks,
                 since they never rebutted the rebuttable presumption (which is where the power
                 is) that the real being is united and amalgamated with the strawman (presumed to
                 be the property of the system), so that whatever the system wants to do with its
                 property (the strawman) gets enforced on the real being.

                 Also of supreme importance is not giving one's name in court when asked, and not
                 saying "yes" in any form when the judge asks "Are you so-and-so?" to act as
                 discussed herein-above.

                 Further, whenever possible have your documents notarized with the
                 acknowledgment/jurat. Although the notary text is labeled "acknowledgment,"
                 which is it, since the text contains the words "subscribed and sworn," it is also a
                 jurat. Notarial acknowledgment is mandatory admissibility in court, and a jurat is
                 an oath, the strongest use of a notary, and is regarded as an apostille. The fact that
                 the text contains the use of your name three (3) times, and that your name as set
                 forth, i.e., [Name]©®TM[Birth Year], is intended as referring to the real you as
                 living principal operating in the matter as the authorized representative and
                 attorney in fact for your strawman, is express, witnessed notice of your standing.
                 One should put several variations in the spelling of the strawman, i.e. "JOHN
                 HENRY DOE," the all-caps name of the Defendant, and "dOe, JOHN HENRY."
                 The latter is the military designation of the strawman's name, and all
                 legal/ commercial matters today are military and function under military
                 accounting (as per the military accounting manual, ER 37210 ).

                 Lastly, always (if at all possible) put a postage stamp (two-cent stamps in US are
                 fine) on the lower right-hand corner on the back of every page in any document
                 you file into court. Autograph (sign your full name in longhand) diagonally across
                 the stamp in purple (royalty) or blue (source of the bond) ink. Also, if you have
                 had your bullet stamp made, stamp it (gold ink) on the upper left hand part of the
                 postage stamp in addition to inscribing your autograph by hand. This escalates the
                 seriousness of your instrument by making you the postmaster of the transaction
                 and placing the matter under the UPU, a jurisdiction in international law formed
                 by treaty that is higher than, and untouchable by, the courts. It provides you with
                 what might well be an insurmountable position vis-a-vis those in the system acting
                 against you, notwithstanding any other considerations. By use of the postage
                 stamps in this manner you are posting your document to them through the mail,
                 making you an official mail carrier delivering your document. They cannot
                 interfere or tamper with the mail or the carrier thereof (you)!!!

                 It is our understanding that the reason a court has seventy-two (72) hours to deal
                 with the Court Bond from the time it is filed is the requirement to adjust the books


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                  on the international stock/bond exchange within that time frame. What has
                  occurred in actual cases seems to confirm this, since people who filed the Court
                  Bond have been brought into court the following morning, if not sooner. Their
                  time frame within which they can act to take themselves off the hook is very short.
